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 1   Andrew M. Hutchison (SBN 289315)
     COZEN O’CONNOR
 2   101 Montgomery Street, Suite 1400
     San Francisco, California 94104
 3   Tel: 415-593-9625
     Fax: 415-692-3514
 4   Email: ahutchison@cozen.com
 5   Barry Golob (Pro Hac Vice)
     Thomas J. Fisher (Pro Hac Vice)
 6   COZEN O’CONNOR
     1200 19TH Street, NW
 7   Washington, DC 20036
     Tel: 202-912-4800
 8   Fax: 202-861-1905
     Email: bgolob@cozen.com
 9
            tfisher@cozen.com
10
     William E. Davis, III (Pro Hac Vice)
11   Rudolph (Rudy) Fink IV (Pro Hac Vice)
     THE DAVIS FIRM, PC
12   213 N. Fredonia Street, Suite 230
     Longview, Texas 75601
13   Tel: 903-230-9090
     Fax: 903-230-9661
14   Email: bdavis@davisfirm.com
            rfink@davisfirm.com
15
     Attorneys for Plaintiff
16   10TALES, INC.
17                                UNITED STATES DISTRICT COURT

18                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

19
     10TALES, INC.,                              Case No.: 4:21-cv-03868-YGR
20
                    Plaintiff,                   PLAINTIFF 10TALES, INC.’S REQUEST
21                                               FOR JUDICIAL NOTICE IN SUPPORT
            v.                                   OF PLAINTIFF’S OPPOSITION TO
22                                               DEFENDANTS’ SECOND MOTION TO
     TIKTOK INC., TIKTOK PTE. LTD.               DISMISS
23   BYTEDANCE LTD., AND
     BYTEDANCE INC.,                             Date:              February 15, 2022
24                                               Time:              2:00 p.m.
                    Defendants.                  Courtroom:         1 – 4th Floor
25                                               Judge:             Hon. Yvonne Gonzalez
                                                                    Rogers
26
                                                 [Filed Concurrently with Opposition and
27                                               Declaration of Andrew M. Hutchison]
28
                                                                           4:21-cv-03868-YGR
                                                   10TALES, INC.’S REQUEST FOR JUDICIAL NOTICE
                                                                                  LEGAL\56003698\1
         Case 5:21-cv-03868-VKD Document 134-2 Filed 01/20/22 Page 2 of 2



 1                                  REQUEST FOR JUDICIAL NOTICE
 2          Plaintiff 10Tales, Inc. (“10Tales”) hereby requests, pursuant to Federal Rules of Evidence 201,
 3   that this Court take judicial notice of the following documents in support of 10Tales’ Opposition to
 4   Defendants’ Second Motion to Dismiss Plaintiff’s Amended Complaint for Failure to State a Claim
 5   Pursuant to Fed. R. Civ. P. 12(b)(6) and 35 U.S.C. § 101.
 6          Exhibit 1: Excerpts from a true and correct certified copy of the file history of U.S. Patent
 7   Application No. 10/819,514, which issued as U.S. Patent No. 8,856,030 obtained from the United
 8   States Patent and Trademark Office. See, e.g., Genentech, Inc. v. Chiron Corp., 112 F.3d 495, 497
 9   n.1 (Fed. Cir. 1997) (taking judicial notice of the entire Board of Patent Appeals and Interferences
10   record because, among other reasons, the record is a public record and “thus capable of accurate and
11   ready determination by resort to unquestionable sources.”); Manzarek v. St. Paul Fire & Marine Ins.
12   Co., 519 F.3d 1025, 1030-31 (9th Cir. 2008) (on deciding a motion to dismiss, it is proper for the court
13   to consider “allegations contained in the pleadings, exhibits attached to the complaint, and matters
14   properly subject to judicial notice.”).
15

16                                                                Respectfully submitted,
17
     Dated: January 20, 2022                                      COZEN O’CONNOR
18

19                                                          By:   /s/ Andrew M. Hutchison
                                                                  Barry Golob
20                                                                Thomas Fisher
                                                                  Andrew M. Hutchison
21
                                                                  THE DAVIS FIRM PC
22                                                                William E. Davis, III
                                                                  Rudolph (Rudy) Fink IV
23
                                                                  Attorneys for Plaintiff
24                                                                10Tales, Inc.

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                                                             10TALES, INC.’S REQUEST FOR JUDICIAL NOTICE
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